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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                CRIMINAL ACTION

V.                                                                      NO. 12-1

TELLY HANKTON ET AL.                                                    SECTION "F"

                                    ORDER & REASONS

        Before the Court is Telly Hankton’s motion to suppress witness

identifications. For the following reasons, the motion is DENIED.

                                      Background

        In its Order and Reasons dated February 26, 2016, the Court

ordered Telly Hankton to submit supplemental briefing to clarify

which     evidence     he     seeks       to       suppress     with    regard       to    the

identification procedures used in connection with the Jesse Reed

Homicide.     Hankton       has    complied         with   Court’s      order,      and    the

government has responded. In the interests of brevity, the Court

recounts only the facts relevant to the issue presented in this

supplemental order: whether the identification procedures used in

connection      with    the       Jesse    Reed      homicide       were       impermissibly

suggestive.

        Jesse Reed was murdered in a New Orleans neighborhood on June

20, 2009. Hasan Williams was with Jesse Reed on the stoop of a

house when, allegedly, Telly Hankton and two other men pulled up

and began shooting. Williams escaped; however, he was murdered two

weeks later. Just hours after the shooting, New Orleans Police


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Detectives Kevin Burns and Melanie Dillon interviewed Williams.

Williams identified Telly Hankton by name as the driver and one of

the shooters; Williams stated that he had known Hankton “for

years.” The two detectives showed Williams a photo of Telly Hankton

to confirm his identity. Williams confirmed and signed the photo.

Four days later, Williams testified before an Orleans Parish grand

jury and reaffirmed his statements to the detectives.

     Hankton      submits   in     his   supplemental       papers    that    Hasan

Williams’ statements to the detectives and to the grand jury should

be inadmissible as evidence, because Williams is now deceased.

Hankton relies on his Sixth Amendment right to confront and cross-

examine any witness who testifies against him.

     The government correctly responds that the admissibility of

Williams’ statements is not before the Court in this motion.

Rather, as Hankton submitted in his initial motion to suppress,

the issue before the Court is whether the identification procedures

used in connection with the Jesse Reed homicide were impermissibly

suggestive. Curiously, Hankton offers no reasons why the Court

should   find    Hasan   Williams’       identification      of   Telly      Hankton

impermissibly suggestive.

     “It is well established that the burdens of production and

persuasion      generally   rest    upon     the   movant    in   a   suppression

hearing.” United States v. De La Fuente, 548 F.2d 528, 533 (5th

Cir. 1977). Only in “some well-defined situations” does the burden

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shift to the government. See id. None of those situations are

present here.

       Because Hankton has not carried his burden of production or

persuasion, IT IS ORDERED that his motion to suppress is DENIED. 1

       IT IS FURTHER ORDERED that Telly Hankton will not be permitted

to appear at the March 4, 2016 hearing. His motion to suppress is

now fully resolved.

                                 New Orleans, Louisiana, March 3, 2016


                                      ______________________________
                                           MARTIN L. C. FELDMAN
                                       UNITED STATES DISTRICT JUDGE




1Hankton may raise the admissibility of Hasan Williams’ statements
as evidence at the appropriate time.
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